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                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


   MICHAEL GOMEZ, IAN JOI and
   JOSEPH LOWE,

                      Plaintiffs,

   v.                                                Case No: 6:23-cv-1824-GAP-LHP

   SCOTT KOFFINAS, RAMY YACOUB
   and MARCOS R. LOPEZ,

                      Defendants




                                          ORDER
         In the interest of justice, the Clerk of Court is directed to transfer this case to

   the Honorable Robert M. Norway, with his permission, in light of Case No. 6:23-cv-

   816-GAP-RMN.

         DONE and ORDERED in Orlando, Florida on August 29, 2024.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
